   Case 5:20-cv-05048-PKH
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IN RE:                                                                                                  FILED
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LADONNA HUMPHREY                                            Case No. 5:19-bk-72555                  MAR 13 2020 ·
Debtor                                                      Chapter 7                  IJIDAllcCORMACKCLERKfl't   ;t/-b
                      DESIGNATION OF RECORD AND ISSUES ON TO BE PRESENTED
                                                           '


        Comes now La Donna Humphrey acting for herself and provides the following designation of
record and issues to be presented on appeal.

       The records should include the Motion for Approval of Sale Pursuant to 11 U.S.C. 363 and Notice
of Opportunity to Object and Overbid filed by Trustee on December 4, 2019.
                                                                      .              I Cf
         The Response filed by Stanley bond on behalf of Humphrey on 12/25/20)<5,

         Transcript of the hearing held before Judge Ben Barry on February 12, 2020

         The order approving the sale field on February 14, 2020



The issues to be presented are as follows:



         Defensive appellate rights are not property of the Estate



       Even if the Defensive appellate rights are property of the estate, the Trustee failed to properly
determine whether the sale was in the best interest of the estate.



        The Purchaser withheld information relating to the counterclaim that was purchased and failed
to notify the trustee that Anthony Christopher was charged with Medicaid fraud and there was a
warrant issued for his arrest on February 5, 2020 which would have changed the discussion on the value
of the counterclaim for damages caused to a whistle blower.




                                             Certificate of Service




                  EOD: March 13, 2020
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I, La Donna Humphrey, certify that the forgoing document has been duly served via the Court's CM/ECF
electronic mail to all filing users on March 13, 2020 as follows:

Bianca Rucker, Chapter 7 Trustee

Charles T. Coleman and Glenn Ritter, Attorney's for Movant



                                                              By:
